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                                               11

                                                2                        IN THE UNITED STATES DISTRICT COURT
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                                                3                              FOR THE DISTRICT OF NEVADA
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                                                4   D.S., a minor by and through his Guardian ad        CASE NO. 2:22-cv-00246-JCM-NJK
                           Suite 600




                                                    Litem, CORTNEY LARSON,
                                                5                                                       JOINT STIPULATION AND
                                                                                 Plaintiff,             [PROPOSED] ORDER TO MODIFY
                                                6
                                                                                                        SCHEDULING ORDER
                                                7           v.
                                                                                                        [SECOND REQUEST]
                                               18   CLARK COUNTY SCHOOL DISTRICT,
                                                    MELISSA OLSZEWSKI, SHAWN
                                               19   HALLAND, DOES 150,
                                               20
                                                                                  Defendants.
                                               21

                                               22   The parties, through their undersigned counsel, hereby stipulate as follows:
                                               23   I.      STATEMENT OF DISCOVERY COMPLETED
                                               24           At the Court’s direction, the parties submitted their amended stipulated discovery plan
                                               25   and scheduling order on May 3, 2022 (Dkt. 29) and the Court entered its scheduling order on
                                               26   May 4, 2022 (Dkt. 30). On July 5, 2022, the Court granted the Parties’ First Request to modify
                                               27   the scheduling order (Dkt. 34). The parties have completed the following discovery to date:
                                               28   ///

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                                                1           1.      On May 2, 2022, Defendants CCSD and Shawn Halland served their initial
                                                2   disclosures.
                                                3           2.      On May 6, 2022, Plaintiff served initial disclosures.
                                                4           3.      On June 9, 2022 Plaintiff served Interrogatories and Requests for Production,
                                                5   Set One to CCSD.
                                                6           4.      On July 6, 2022, Defendants CCSD and Shawn Halland served Interrogatories
                                                7   and Requests for Production, Set One to Plaintiff.
                                                8           5.      On August 5, 2022, Defendant Olszewski served her initial disclosures.
                                                9           6.      On August 8, 2022, Defendants CCSD and Shawn Halland served their first
                                               10   supplemental disclosures.
                                               11           7.      On August 8, 2022, Defendants CCSD and Shawn Halland served their answers
                                                2   to Plaintiff’s Interrogatories and Requests for Production, Set One.
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                                                3           8.      On August 19, 2022, Plaintiff served answers to CCSD’s Interrogatories and
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                                                4   Requests for Production, Set One.
                           Suite 600




                                                5           9.      On August 26, 2022, Defendant Olszewski served her first supplemental
                                                6   disclosures.
                                                7           10.     On August 30, 2022, Defendants CCSD and Shawn Halland served their second
                                               18   supplemental disclosures.
                                               19           11.     On October 4, 2022, Defendants CCSD and Shawn Halland served their third
                                               20   supplemental disclosures.
                                               21   II.     STATEMENT OF DISCOVERY THAT REMAINS TO BE COMPLETED
                                               22           The following discovery remains to be completed:
                                               23           1.      CCSD intends to issue subpoenas to the minor Plaintiff’s medical providers for
                                               24   records.
                                               25           2.      Complete lay witness depositions.
                                               26           3.      CCSD intends to request a Rule 35 Psychological Examination of the minor
                                               27   Plaintiff.
                                               28           4.      Disclose expert reports.

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                                                1           5.      Depose the parties’ retained experts.
                                                2   III.    REASONS WHY DISCOVERY WILL NOT BE COMPLETED BY THE
                                                            CURRENT DISCOVERY CUTOFF
                                                3

                                                4           Under the current deadlines, lay discovery closes in less than twenty (20) days. The
                                                5   Parties need additional time to meet-and-confer regarding production of documents, to review
                                                6   them when produced, and to take party depositions thereafter. At Plaintiff’s request, counsel
                                                7   for CCSD completed an ESI search of CCSD’s emails based on certain agreed upon
                                                8   custodians and search terms—resulting in 242,600 documents. On October 4, 2022, CCSD
                                                9   produced 1,681 emails after reviewing a subset of emails containing certain terms and asked
                                               10   Plaintiff’s counsel to further narrow the scope prior to CCSD engaging in any further review.
                                               11   Counsel for Plaintiff is evaluating the same. Separately, on September 7, 2022, CCSD sent
                                                2   Plaintiff’s counsel a meet and confer letter raising issues related to the production of
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                                                3   Plaintiff’s medical and educational records in addition to executing signed releases allowing
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                                                4   CCSD to subpoena the same. Those issues are still pending and need to be resolved prior to
                           Suite 600




                                                5   noticing certain depositions. Accordingly, the parties request a 60-day extension of all
                                                6   deadlines.
                                                7                                     PROPOSED SCHEDULE
                                               18           The parties stipulate and agree that:
                                               19           1.      Lay Discovery Period: The deadline to complete lay discovery shall be
                                               20   extended from November 4, 2022 to January 3, 2023.
                                               21           2.      Initial Expert Disclosure: The deadline to file initial expert reports shall be
                                               22   extended December 5, 2022 to February 3, 2023.
                                               23           3.      Rebuttal Expert Disclosure: The deadline to file rebuttal expert reports shall
                                               24   be extended from January 6, 2023 to March 7, 2023.
                                               25           4.      Expert Discovery Period: The deadline to complete expert discovery shall be
                                               26   extended from February 6, 2023 to April 7, 2023.
                                               27           5.      Dispositive Motions:     The deadline to file dispositive motions shall be
                                               28   extended from March 10, 2023 to May 9, 2023.

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                                                1            6.     Pretrial Order: If no dispositive motions are filed, the Joint Pretrial Order
                                                2   shall be filed thirty (30) days after the date set for the filing of dispositive motions. Therefore,
                                                3   the joint pretrial order shall be extended from April 10, 2023 to June 9, 2023. In the event
                                                4   dispositive motions are filed, the date for filing the Joint Pretrial Order shall be suspended
                                                5   until thirty (30) days after the decision on the dispositive motions or by further order of the
                                                6   court.
                                                7            This stipulation and order is sought in good faith and not for the purpose of delay. This
                                                8   is the second request for a scheduling extension.
                                                9            IT IS SO STIPULATED.
                                               10   DATED this 14th day of October, 2022.                  DATED this 14th day of October, 2022.
                                               11   GREENBERG TRAURIG, LLP                                 WALKUP, MELODIA, KELLY &
                                                                                                           SCHOENBERGER, LLP
                                                2
                                                    By: /s/ Whitney Welch-Kirmse                           By: /s/ Valerie Rose
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                                                        Counsel for Defendants, Clark County                   Counsel for Plaintiffs
                                               18
                                                        School District and Shawn Halland
                                               19                                                               PANISH SHEA & BOYLE, LLP
                                                                                                                RAHUL RAVIPUDI
                                               20   DATED this 14th day of October, 2022.                       Nevada Bar No. 14750
                                                                                                                IAN SAMSON
                                               21   ALBRIGHT STODDARD WARNICK &                                 Nevada Bar No. 15089
                                                    ALBRIGHT                                                    ADAM ELLIS
                                               22                                                               Nevada Bar No. 14514
                                                    By: /s/ Daniel R. Ormsby                                    8816 Spanish Ridge Avenue
                                               23                                                               Las Vegas, Nevada 89148
                                                        G. MARK ALBRIGHT
                                                        Nevada Bar No. 01394                                    Co-Counsel for Plaintiffs
                                               24
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                                                          Counsel for Defendant Melissa
                                               27         Olszewski
                                               28


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                                                1                                                ORDER
                                                2           In consideration of the stipulation by the parties, and with good cause appearing,
                                                3           1.      Lay Discovery Period: The deadline to complete lay discovery shall be
                                                4   extended from November 4, 2022 to January 3, 2023.
                                                5           2.      Initial Expert Disclosure: The deadline to file initial expert reports shall be
                                                6   extended December 5, 2022 to February 3, 2023.
                                                7           3.      Rebuttal Expert Disclosure: The deadline to file rebuttal expert reports shall
                                                8   be extended from January 6, 2023 to March 7, 2023.
                                                9           4.      Expert Discovery Period: The deadline to complete expert discovery shall be
                                               10   extended from February 6, 2023 to April 7, 2023.
                                               11           5.      Dispositive Motions:      The deadline to file dispositive motions shall be
                                                2   extended from March 10, 2023 to May 9, 2023.
GREENBERG TRAURIG, LLP




                                                3           6.      Pretrial Order: If no dispositive motions are filed, the Joint Pretrial Order shall
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                  Las Vegas, Nevada 89135
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                                                4   be filed thirty (30) days after the date set for the filing of dispositive motions. Therefore, the
                           Suite 600




                                                5   joint pretrial order shall be extended from April 10, 2021. In the event dispositive motions
                                                6   are filed, the date for filing the Joint Pretrial Order shall be suspended until thirty (30) days
                                                7   after the decision on the dispositive motions or by further order of the court.
                                               18           IT IS SO ORDERED.
                                               19

                                               20    The reasons for this extension largely
                                                     overlap with those that justified the prior
                                               21    extension. See Docket No. 34 at 2. The          UNITED STATES MAGISTRATE JUDGE
                                                     parties must ensure they move forward
                                               22    with discovery diligently.                      DATED October 17, 2022
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